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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF IOWA

                                           )
UNITED STATES OF AMERICA,                  )     Criminal No. 4:22-cr-199
                                           )
             v.                            )
                                           )     DISCOVERY ORDER PROTOCOL
BRADLEY EUGENE WENDT,                      )
                                           )
             Defendant.                    )
                                           )

                                PROPOSED ORDER

       Because the use of a Filter Team is a lawful and appropriate measure to

safeguard Potentially Protected Material, the Court GRANTS the Government’s

Motion for Entry of a Discovery Protocol Governing the Production of Potentially

Protected Material pursuant to Federal Rule of Criminal Procedure 16.

      IT IS ORDERED:

      1.     This Discovery Protocol Order (the “Protocol”) governs the production of

Potentially Protected Material 1 in this case.

      2.     The Government’s Filter Team shall segregate Potentially Protected

Material from the Prosecution Team unless the Court or the ostensible holder of the

potential privilege or protection authorizes the production of the Potentially

Protected Material to the specific recipient.




      1   “Potentially Protected Material” is discovery material that is potentially
protected from disclosure by the attorney-client privilege, work-product doctrine,
Garrity v. New Jersey, 385 U.S. 493 (1967), or any other legally recognized privilege
or protection.
                                                                             GOVERNMENT
                                                                               EXHIBIT

                                                                                   1
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      3.      The Filter Team shall produce discovery material that is not Potentially

Protected Material to the Prosecution Team.

      4.      Within ten (10) days of this Order, Defendant shall provide to the Filter

Team the following information: (a) a list of all of Defendant’s previous and current

attorneys including their email addresses, phone numbers, mailing addresses, and a

description of the matter upon which the respective attorney represented Defendant

and (b) the names of individual(s) to whom Defendant claims to have made compelled

statements within the meaning of Garrity v. New Jersey, 385 U.S. 493 (1967), the

medium by which Wendt made the statements (e.g., email, text message, etc.), and

the approximate date of the statements. 2

      5.      The Filter Team shall notify Defendant before producing any of the

Defendant’s Potentially Protected Material to the Prosecution Team using the

following procedure:

           a. Notice: The written notice to Defendant shall include:

                  i. An electronic index identifying the Potentially Protected
                     Material scheduled for production;
                 ii. A copy of this Protocol.

           b. Objections: If the Defendant objects to the Filter Team’s production of
              certain items to the Prosecution Team, the Defendant must send a
              written objection to the Filter Team within fourteen (14) days of
              receiving the notice of scheduled production. The objection shall include
              a privilege log setting forth, for each item logged:

                  i. The Bates number range for the item;
                 ii. The item title or a description of the item’s subject matter;
                iii. The date the item was created;


      2  Unless otherwise noted, dates and times in this Order shall be computed
according to Federal Rule of Criminal Procedure 45.


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          iv. The author of the item;
           v. The recipient of the item, if any;
          vi. Transmittal details of the item, if any;
         vii. The party asserting the potential privilege and/or
              protection; and
        viii. The legally recognized privilege and/or protection asserted
              that preclude production of each item logged and a
              description sufficient to enable evaluation of that
              assertion, including the identity of any attorneys (or other
              persons) whose role in the item at issue form the basis for
              the assertion.

    c. Non-Logged Potentially Protected Material: The Filter Team will
       produce to the Prosecution Team the Potentially Protected Material that
       Defendant does not include an objection for on the privilege log without
       the need for the Court’s approval.

    d. Failure to Object or Assert: If Defendant fails to adequately object
       within fourteen (14) days of the notice of scheduled production, the Filter
       Team will provide the Prosecution Team with information regarding the
       Filter Team’s attempts to contact Defendant and the subsequent failure
       to respond. Thereafter, the Government may forego Subparagraphs (f)–
       (i) below and move the Court for a finding that Defendant has waived
       any privilege and/or protection over the Potentially Protected Material
       identified in the notice of scheduled production.

    e. Failure to Comply: If Defendant fails to provide to the Filter Team a
       privilege log that complies with Subparagraph (b) above, or meet and
       confer in accordance with Subparagraph (f) below, the Court may
       determine that such inactions constitute waiver of any privilege and/or
       protection over the Potentially Protected Material.

    f. Meet and Confer Requirement: The Filter Team shall have ten (10) days
       from the receipt of any objection and required privilege log to meet and
       confer with Defendant to resolve any disagreements concerning the
       objection.

    g. Motion to Compel: The Filter Team shall have ten (10) days from the
       date of the meet and confer to move to compel production of the disputed
       Potentially Protected Material. The moving party shall include with its
       motion a copy of the objection and privilege log, as well as a
       memorandum containing any factual or legal arguments. Upon the
       Court’s request, the objecting Defendant shall provide a copy of the




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              disputed Potentially Protected Material to the Court ex parte and under
              seal for in camera review.

           h. Response: The objecting Defendant shall file a response within ten (10)
              days of the filing of a motion to compel under this Protocol.

           i. Reply: A party moving to compel under this Protocol may file a reply
              within five (5) days of the objecting Defendant’s response.

      6.      Defendant may assert a claim over material previously produced as non-

Potentially Protected Material to Defendant and/or the Prosecution Team by

providing a written objection to the Prosecution Team detailing, with specificity, the

impacted documents and basis of the asserted privilege and/or protection. The Filter

Team will promptly claw back the identified material from the Prosecution Team.

      7.      The Court retains jurisdiction to resolve any dispute or adjudicate any

claim of privilege or protection asserted over discovery material produced pursuant

to the Protocol, including if, and under what circumstances, a party may use the

Potentially Protected Material at trial.

      8.      Pursuant to Federal Rule of Evidence 502(d), any Potentially Protected

Material produced to the Prosecution Team or Defendant under this Protocol or

subsequent order in this proceeding, shall not constitute a waiver or forfeiture of any

privilege or protection claim in any other federal or state judicial or administrative

proceeding.

      9.      All parties have the right to present to the Court any Potentially

Protected Material to adjudicate whether the material is indeed privileged, protected,

and/or if an exception to any privilege or protection applies, including, but not limited

to, the crime-fraud exception or waiver. Under Federal Rule of Evidence 502(d), a



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production to determine whether materials are privileged or protected pursuant to

this paragraph shall not itself constitute a waiver or forfeiture of any claim of

privilege or protection.

      10.    If any member of the Prosecution Team inadvertently reviews

Potentially Protected Material, the Prosecution Team member shall immediately

cease review of the Potentially Protected Material and turn the Potentially Protected

Material over to the Filter Team for processing in accordance with this Protocol.

Inadvertent review of Potentially Protected Material shall not automatically

disqualify a Prosecution Team member from this matter.

      11.    The parties may extend deadlines in this Protocol by written agreement

or by requesting the same from the Court upon good cause shown.

      SO ORDERED.



___________________________                  ____________________________________
Date                                         The Honorable Helen C. Adams
                                             Chief U.S. Magistrate Judge




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